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9 FAM 40.6
NOTES

(CT: VISA-923; 01-10-2008)
(Office of Origin: CA/VO/L/R)

9 FAM 40.6 Ni INADMISSIBILITY
FINDINGS/REFUSAL CODES AND “QUASI”
INELIGIBILITIES/LOOKOUT CODES
(CT:VISA-923; 01-10-2008)

a.

You (consular officers) should only make a formal finding of
inadmissibility in the context of visa application or revocation of an
existing visa. A “hard” refusal code entry should only be placed in
consular lookout and support system (CLASS) if you are denying or
revoking a visa.

If you obtain derogatory information outside the context of an application
or revocation, you should enter the alien’s name in the CLASS lookout
system under the appropriate “P” (“quasi-refusal”) code corresponding to
the suspected or presumed inadmissibility. The alien’s eligibility should
then be resolved if and when the alien applies for a visa.

You may enter a quasi-refusal in only two general cases:

(1) If you obtain derogatory information outside the context of an
application or revocation (see 9 FAM 41.122 PN2); or

(2) When the ineligibility determination is pending a fraud
investigation, an advisory opinion (AO) or security advisory opinion
(SAO) for instance from the Department (3B some types of 6Ci
refusals, for instance, need visa office (VO) concurrence), or
pending petition revocation at Department of Homeland
Security/U.S. Citizenship and Immigration Services (DHS/USCIS).
You do not enter a quasi-refusal if you lack the evidence for a
“hard” ineligibility under the law (i.e., you cannot refuse an
applicant P2al if the applicant has committed a crime, but the
crime does not rise to the level of moral turpitude.)

NOTE: A quasi-refusal, by definition, is not a refusal. It is nota
determination of eligibility. You cannot conclude a case by simply
entering a quasi-refusal; you must enter a “hard” refusal. You may
not deny or revoke a visa based solely on “quasi-ineligibility.” If an
alien applies for a visa, the alien’s eligibility must be definitively

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resolved.

d. For instance, if you suspect an applicant may have committed fraud but
need an advisory opinion (AO) from the Department to confirm, you must
enter the case as both INA P6C1 and 221g. Not entering a hard refusal
also affects posts’ workload statistics since those cases will not be
reported as adjudicated.

e. One temporary exception to the rule is the use of the PH2R quasi-refusal
code. Posts are authorized to use this code when issuing H2Bs to
qualified H2R applicants on petitions with employment start dates in both
FY 2007 and FY 2008, regardless of whether they are labeled as
“returning workers.” A PH2R entry in this case is designed for
Department recordkeeping only.

9 FAM 40.6 N2 REFERRAL OF CASES TO
DEPARTMENT FOR ADVISORY OPINIONS (AO)

9 FAM 40.6 N2.1 Requests for Department
Guidance

(CT: VISA-884; 05-17-2007)

You should submit an advisory opinion (AO) in any case where a question
exists regarding the interpretation or application of law or regulation.

9 FAM 40.6 N2.2 Deferred Issuance Pending
Advisory Opinion Receipt
(TL:VISA-653; 08-31-2004)

If the Department’s opinion has been requested, a visa may not be issued
until the opinion has been officially rendered and communicated to the
requesting post.

9 FAM 40.6 N3 EFFECT OF DEPARTMENT OF
HOMELAND SECURITY/U.S. CITIZENSHIP
AND IMMIGRATION SERVICES (DHS/USCIS)
LOOKOUT ENTRIES

9 FAM 40.6 N3.1 Effect of Definitive DHS/USCIS

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Inadmissibility Findings
(CT:VISA-923; 01-10-2008)

a.

DHS/USCIS findings of inadmissibility generally are entered into the
Treasury Enforcement Communication System (TECS), and these
entries pass electronically into the Department’s CLASS lookout system.

. If you determine that an alien is identifiable with the subject of a

DHS/USCIS-generated lookout entry indicating a definitive determination
of inadmissibility, you may assume that the finding was correct and may
refuse the application under the particular INA section indicated by the
DHS/USCIS lookout entry, unless the inadmissibility is non-permanent
and can be overcome through changed circumstances (e.g., medical or
public charge inadmissibility) or the entry relates to an inadmissibility
that only applies at the port of entry (POE) and is not a basis for a visa
refusal (e.g., INA 212(a)(7)(A)).

Except in cases involving non-permanent inadmissibility, you should not
look behind a definitive DHS/USCIS finding or re-adjudicate the alien’s
eligibility with respect to the provision of inadmissibility described in the
DHS/USCIS lookout entry.

9 FAM 40.6 N3.2 Processing Refusals Based on
DHS/USCIS Findings of Inadmissibility

(CT:VISA-923; 01-10-2008)
You should inform the applicant that:

(1) The refusal was based on a finding of inadmissibility made by
DHS/USCIS, without referring to the existence of a DHS/USCIS
computer lookout on the applicant.

(2) If the subject of a definitive DHS/USCIS entry wishes to pursue his
or her application, he or she will require a waiver of inadmissibility
from DHS/USCIS (if available). (See 9 FAM 40.6 N4.2.)

(3) If the alien maintains that the DHS/USCIS finding was erroneous,
you should generally advise the applicant to contact DHS/USCIS
directly to request reconsideration of the finding of inadmissibility
and deletion of any lookout.

(4) You may choose to contact DHS/USCIS on behalf of the applicant in
appropriate cases, such as where important United States interests
are at stake or where you have information that could assist
DHS/USCIS in reconsideration of the case.

9 FAM 40.6 N3.3 Overcoming a Refusal Based on

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an DHS/USCIS Finding
(CT:VISA-884; 05-17-2007)

If you refuse an application based on a definitive DHS/USCIS lookout entry
and DHS/USCIS subsequently determines that the finding was erroneous
and deletes its entry, then you may process the case to conclusion and
should send in a Visas CLOK cable requesting deletion of any post-originated
CLASS entry which may have been made as a result of the DHS/USCIS
entry. If, notwithstanding DHS/USCIS’ removal of the entry, you believe
that the facts on which DHS/USCIS entry were based justify a finding of
inadmissibility, you should refer the case to the Department for an advisory
opinion (AO).

9 FAM 40.6 N3.4 Resolving Quasi-Refusal
Ineligibilities in Lookout Entries
(CT:VISA-923; 01-10-2008)

a. When you encounter a quasi-refusal in CLASS, like any other hits, you
must resolve it before issuing a visa. The two exceptions are quasi-
ineligibilities that can only be adjudicated at the port of entry (POE) such
as ineligibility under INA 212(a)(7), or a quasi-ineligibility that does not
apply to that visa class. If an applicant has a quasi-refusal hit in the
system, you need to find the supporting case from your files, another
post, or DHS/USCIS and resolve the hit. If you believe the ineligibility
does not apply and it is a State-generated hit, you must request that the
post that made the entry to CLOK out the quasi-refusal.

b. You should generally confront the alien with the derogatory information,
unless it is classified, law enforcement sensitive, Sensitive but
Unclassified (SBU), or other-agency sourced, and give them an
opportunity to present rebuttal evidence, after which you can make a
definitive determination and, if the alien is found inadmissible, definitive
(“hard”) refusal code entry should be placed in CLASS.

c. If there is a DHS/USCIS-entered quasi-refusal (“P”) lookout in CLASS, the
entry has no binding effect, and you should evaluate the derogatory
information that formed the basis for the lookout and should adjudicate
the applicant’s eligibility. If you determine that the applicant is not
inadmissible, you should issue the visa and annotate it appropriately to
ensure that DHS/USCIS inspectors from a POE or other DHS/USCIS office
will understand that you were aware of the DHS/USCIS “P” lookout and
concluded nonetheless that the applicant was admissible. You can
request that DHS/USCIS remove the hit, but that may not be done in
time for the applicant to travel. If you issue a visa over a DHS/USCIS “P”
entry, you should remind the applicant that he or she will be subject to

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inspection upon arrival in the United States and that DHS/USCIS has the
independent authority to deny the alien admission, notwithstanding the
alien’s valid visa.

d. In the event of a disagreement between posts, or post and DHS/USCIS,
over the correct application of an ineligibility, you should contact VO/L/A
(for most ineligibilities) or VO/L/C (for 212(a)(3) ineligibilities).

9 FAM 40.6 N3.5 U.S. Customs and Border
Protection (CBP) Inspectors’ Notes on Form I-275,
Withdrawal of Application/Consular Notification

(CT: VISA-884; 05-17-2007)

a. U.S. Customs and Border Protection (CBP) officers sometimes make notes
regarding a finding of inadmissibility or derogatory information regarding
an alien on Form I-275, Application for Withdrawal of
Application/Consular Notification. A typical example of such notes is
“Subject is inadmissible under INA 212(a)(6)(C)(i)” (or some other
ground). Such notes, unless they are backed by the corresponding
definitive (i.e., not quasi - see 9 FAM 40.6 N3.4 c above for procedures if
there is a corresponding quasi-refusal) DHS/USCIS CLASS entry, merely
reflect the immigration officer's opinion and have no binding effect on
you. If there is a corresponding definitive CLASS entry, you must
proceed as directed in 9 FAM 40.6 N3.1 above.

b. If there is no corresponding definitive CLASS entry, you must evaluate
the information on the Form I-275 and adjudicate the applicant’s
admissibility for a visa independently. The factual summary included in
many Form I-275 and any question and answer section between the
applicant and the CBP officer, for example, sometimes will permit you to
make a visa refusal or to pursue a finding of inadmissibility for a visa
under the 30/60-day rule (see 9 FAM 40.63 N4.7 for more information on
the 30/60-day rule).

9 FAM 40.6 N4 OVERCOMING OR WAIVING A
REFUSAL IN NONIMMIGRANT VISA (NIV) OR
IMMIGRANT VISA OVERCOME (IVO)

9 FAM 40.6 N4.1 Overcoming a Refusal
(CT:VISA-923; 01-10-2008)

a. You should find that an applicant has overcome an immigrant visa (IV) or
nonimmigrant visa (NIV) refusal under INA 221(g) in two instances:

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when the applicant has presented additional evidence, allowing you to re-
open and re-adjudicate the case, or when the case required additional
administrative processing, which has been completed. An IV applicant
missing a birth certificate, for instance, should be refused INA 221(g)
pending that certificate (see 9 FAM 41.121 PN1 for guidance on INA 221g
refusals). When the applicant returns with the document, you should
overcome the previous refusal, allowing the case to be adjudicated.

. Similarly, if an applicant refused under INA 212(a)(4), who subsequently
presents sufficient evidence to overcome the public charge inadmissibility,
you should process the case to completion. 22 CFR 42.81(e) “limits the
period of review of an IV refusal to one year from the date of refusal.” 9
FAM 40.41 N12 provides guidance on when to use INA 221(g) and when
INA 212(a)(4) would be more appropriate.

. In a case in which you are unable to issue a visa because additional
administrative processing was required, you should determine that the
INA 221(g) refusal has been overcome once you received the needed
information. Thus, if post needs to do a fraud investigation or send an
Security Advisory Opinion (SAO), there should be a 221(g) entry made at
the end of the interview, and the case should be reopened when the
additional information is obtained. (See 9 FAM Appendix G 501.5.)

. In general, you should not find that an applicant has overcome a refusal
under INA 214(b). Most INA 214(b) cases are refused because the
applicant has not convinced the officer of his or her intent to return
abroad after his or her stay in the United States, as required under INA
101(a)(15)(B) (see 9 FAM 41.31 N2.3 and 9 FAM 40.7 Notes). As such,
the only way to reassess the applicant's eligibility would be for the
applicant to reapply. In this situation, you should create a new case in
the system.

. However, Overcome/Waive (O/W) may be appropriate for INA 214(b)
cases when a supervisor believes the INA 214(b) refusal was in error
perhaps because you did not believe the applicant fit any of the other
standards of the NIV classification for which he or she had applied (see 9
FAM 40.7 N1.1). If a supervisor overcomes such a case he or she should
discuss it with the refusing officer and take personal responsibility for the
case (see 9 FAM 41.121 PN1.2-9).

9 FAM 40.6 N4.2 Waiving an Immigrant Visa (IV)
or Nonimmigrant Visa (NIV) Inadmissibility

(CT:VISA-923; 01-10-2008)

There is no waiver available for refusals under INA 214(b) and INA 221(g).
The DHS/USCIS has the authority to waive most IV and NIV ineligibilities.
INA 212(d)(3)(A) waivers in NIV cases require an initial waiver

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recommendation from you or the Department. (See 9 FAM 40.301, for
information on NIV waivers under INA 212(d)(3)(A) (8 U.S.C.
1182(d)(3)(A)), and 9 FAM 40.6 Exhibit I for IV and NIV waivers.)

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